USDC IN/ND case 1:05-cv-00129-TLS             document 180        filed 12/02/08    page 1 of 2


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


R. DAVID BOYER,                                     )
TRUSTEE,                                            )
                                                    )
       Plaintiff,                                   )
                                                    )
       v.                                           )       CAUSE NO. 1:05-CV-129
                                                    )
CHRISTOPHER GILDEA, et. al.,                        )
                                                    )
       Defendants.                                  )


                                   OPINION AND ORDER

       This matter is before the Court on the motion (DE# 177) filed by the Trustee on

November 26, 2008, seeking a 14 day extension of time to produce the documents and privilege

logs contemplated in the Courts’ November 13, 2008, Opinion and Order.

       Notwithstanding that the Trustee has shown good cause under Federal Rule of Civil

Procedure 6(b)(1) for the modest extension, one of the Defendants, Arlington Capital LLC.,

opposes the motion. (DE# 178) The basis for the objection is that Arlington believes that there

will not be sufficient time for them to review the documents and privilege log before discovery

closes on December 23, 2008, tacitly suggesting that they may want to do more discovery once

they see the documents.

       The problem with Arlington’s objection is that they simply assume they will want to do

more discovery and they offer no suggestion as to what that discovery might be, let alone its

duration. Moreover, they have no motion for such relief pending before the Court or any

indication that they and counsel for the Trustee conducted a Local Rule 37.1 conference on the
USDC IN/ND case 1:05-cv-00129-TLS                         document 180             filed 12/02/08         page 2 of 2


topic.1 In short, and in contrast to the motion before the Court, no good cause has been shown, at

least on this record, to grant an unsolicited extension to the overall discovery deadline.

         Therefore, the motion for an extension of time filed by the Trustee is hereby GRANTED

and the Trustee is granted an additional fourteen-days to produce the requested documents as

well as a privilege log for any withheld documents. No further extensions will be granted to this

new deadline.

         Enter for December 2, 2008.

                                                                  S/Roger B. Cosbey
                                                                  Roger B. Cosbey,
                                                                  United States Magistrate Judge




         1
          The Trustee in his reply brief argues that “[b]y virtue of the Court’s prior rulings, Arlington is not at liberty
to conduct” any more discovery. The Trustee does not cite the “prior rulings” to which he refers, but that, of course,
can be discussed at any Local Rule 37.1 conference preparatory to another subsequent motion.

                                                            2
